                        MEMORANDUM CASES.
[1] In conformity with the stipulation entered into by counsel for the respective parties in the above-entitled cause, and in accordance with the opinion in the case of Mary J. Craig,Plaintiff and Appellant, v. San Fernando Furniture Co. et al.,Defendants and Respondents, being Civil No. 5644, ante, p. 167 [264 P. 784].
It is hereby ordered that the judgment of dismissal as against defendant San Fernando Furniture Company be and it is reversed and set aside, and that the judgment of dismissal of the action as against defendants Alex Cohen, Louis Cohen, and Morris Cohen be and it is affirmed.
It is further ordered that the appeals from the order of court sustaining defendants' demurrers and from the order of court granting the motions of the defendants to strike from the amended complaint be dismissed.
Conrey, P.J., and York, J., concurred. *Page 794 